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                                   6                                  UNITED STATES DISTRICT COURT

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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                  10   UNITED STATES OF AMERICA,
                                  11                    Plaintiff,                           No. CR 14-00175 WHA

                                  12             v.
Northern District of California
 United States District Court




                                  13   PACIFIC GAS AND ELECTRIC                              ORDER FOR FURTHER
                                       COMPANY,                                              RESPONSES RE DIXIE FIRE
                                  14
                                                        Defendant.
                                  15

                                  16
                                            In addition to the questions posed in open court yesterday (which answers are due Friday
                                  17
                                       at noon), PG&E shall please separately answer the following by SEPTEMBER 24 AT NOON.
                                  18
                                            1.        PG&E shall describe its policies, practices, and procedures then in place for the
                                  19
                                       circumstances in which it would deenergize a line pending investigation of a fault. It shall also
                                  20
                                       describe the extent to which the decision to do so rests with troublemen versus the dispatch
                                  21
                                       operator versus others. PG&E shall identify, by name and position, all individuals with
                                  22
                                       decision-making power and shall identify by name all specific individuals who actually gave
                                  23
                                       consideration or input as to how to respond to this July 13 incident. For one example, did
                                  24
                                       anyone specifically consider de-energizing any part (or all) of the Bucks Creek 1101 line and,
                                  25
                                       if so, when and how?
                                  26

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                                   1         2.     As a single exhibit, provide all PG&E (and partner, contractor, etc.) internal

                                   2   emails, texts, memos, and other documents created on July 13 or 14, 2021, pertaining to the

                                   3   July 13 incident on the Bucks Creek 1101 line, and separately summarize them.

                                   4         3.     PG&E shall submit all documents (including electronically-stored documents)

                                   5   within PG&E’s possession or control that summarize, describe, or refer to any PG&E policies,

                                   6   procedures, or protocols that address how PG&E should respond to tags with the following

                                   7   characteristics: (1) in HFTDs; (2) with a fault on the line or an outage without a fault; and (3)

                                   8   where that outage plausibly could be the result of a fallen/leaning tree or branch contacting the

                                   9   line. Provide the documents as a single exhibit but also summarize them in your response.

                                  10         4.     In the actual event, when switch 941 was turned off on July 13, how did the

                                  11   railroad deal with that loss of power? Why couldn’t the same approach have been taken if the

                                  12   switch had been turned off earlier in the day? Did the railroad have backup power at that
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                                  13   location? How does the railroad generally deal with PSPS de-energizations?

                                  14         5.     For each channel that was installed in the radio in the Troubleman’s truck, state

                                  15   the location of the nearest repeater to the Bucks Creek 1101 line and its frequency pairs. If a

                                  16   channel was simplex (rather than duplex), state the single frequency for that channel as of July

                                  17   13. What radio frequencies were installed and monitored on July 13 at the Rock Creek

                                  18   Switching Center?

                                  19         6.     What cell phone carrier did the Troubleman use for his work-issued cell phone?

                                  20   How did the Troubleman receive work tags? Via his PG&E-issue cell phone, or a different

                                  21   device? What carrier did that device employ? Did the Troubleman have a personal cell phone

                                  22   with him? If so, what carrier did it use? Did he carry a satellite phone?

                                  23         7.     With respect to the Troubleman’s testimony that the radio would not work (except

                                  24   at the single location he indicated on Highway 70) and that the radio call he received while

                                  25   fighting the fire came line of sight and on a single frequency from a truck also in the hills,

                                  26   PG&E shall submit corroboration of all aspects of this testimony and shall separately submit

                                  27   all documents in its possession or control that explain radio reception in the canyon.

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                                   1        8.       Submit a declaration of the employee with whom the Troubleman talked by radio

                                   2   from the pole site on July 13. The declaration should state whether the employee was using

                                   3   simplex (i.e. no repeater) versus a repeater in communicating with the Troubleman, and his

                                   4   location at the time and the channel used.

                                   5        9.       What was the Fire Index on July 13 for the location of Fuse 17733?

                                   6        10.      The Court is informed that there were no lightning strikes in the area for at least

                                   7   seven days prior to July 13. Please research and provide PG&E’s view on this matter.

                                   8        11.      Is PG&E in possession of any information from any source that the Dixie Fire

                                   9   was (or was not) ignited by lightning? If so, state all such information in summary form and

                                  10   separately provide the back up documentation.

                                  11        12.      PG&E’s 2021 Wildfire Mitigation Plan Revised (dated June 3, 2021) states at

                                  12   page 621 under the heading “Risk to be mitigated/problem to be solved”:
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                                  13              A high impedance fault like a wire down or tree contact could remain
                                                  undetected and become an ignition source. In addition, high impedance
                                  14              line to ground faults on distribution circuits are difficult to detect with
                                                  traditional overcurrent protection.
                                  15
                                       Explain why and how a “tree contact could remain undetected and become an ignition source.”
                                  16
                                       Separately, as a single exhibit, attach all PG&E documents necessary to explain this problem.
                                  17
                                       With respect to high impedance ground faults, to what extent were PG&E’s sensors for the
                                  18
                                       Bucks Creek 1101 Circuit set (or not set) to detect such levels of current? Put differently, if a
                                  19
                                       single phase was sending power to ground through the tree in question, was the PG&E
                                  20
                                       equipment then set to detect such an occurrence?
                                  21
                                            13.      Is PG&E in possession of any information from any source that contradicts or
                                  22
                                       supports the scenario that the tree on the line became a ground fault that conducted electricity
                                  23
                                       from the live wire to ground? If so, state all such information in summary form and separately
                                  24
                                       provide the back up.
                                  25
                                            14.      Is PG&E in possession of any information from any source that contradicts or
                                  26
                                       supports the scenario that the tree on the line became a ground fault that conducted electricity
                                  27

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                                   1   from the live wire to ground? If so, state all such information in summary form and separately

                                   2   provide the back up.

                                   3        15.     Is PG&E in possession of any information from any source concerning the extent

                                   4   to which Douglas Firs conduct electricity? If so, state all such information in summary form

                                   5   and separately provide the back up.

                                   6        16.     Is PG&E in possession of any information from any source that would indicate

                                   7   that the fire would have ignited anyway even if Bucks Creek 1101 had been de-energized soon

                                   8   after the Troubleman arrived at Cresta Dam? If so, state all such information in summary form

                                   9   and separately provide the back up.

                                  10        17.     With respect to the declaration previously provided by the Senior Manager of the

                                  11   Distribution Planning Group:

                                  12                a. Explain the terms “phase fault,” “ground fault,” and “sensitive ground fault;”
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                                  13                b. What was the applicable MTT?

                                  14                c. The measurement was less than 4/100ths of a second, but how much less?

                                  15                d. What is a “phase to phase” fault?

                                  16                e. With respect to the phase to phase fault detected by PG&E, what was the

                                  17                   maximum amperage detected?

                                  18        18.     With respect to Attachment 1 to the Declaration of the Senior Manager of the

                                  19   Distribution Planning Group filed August 31, 2021:

                                  20                a. What is the significance of the alternating pattern of entries (typically 1.2 v.

                                  21                   2.4)?

                                  22                b. What, if anything, do the data tell us about a fault to ground possibility?

                                  23                   What would the entries have looked like had all been normal?

                                  24        IT IS SO ORDERED.

                                  25

                                  26   Dated: September 14, 2021.

                                  27
                                                                                              WILLIAM ALSUP
                                  28                                                          UNITED STATES DISTRICT JUDGE
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